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             USCA Case #24-5192                Document #2084643                     UNITED STATES COURT
                                                                             Filed: 11/07/2024      PageOF1 APPEALS
                                                                                                            of 3
                                                                                      FOR DISTRICT OF COLUMBIA CIRCUIT
                                                                                                NOV 0 7 202'!
                                                             CASE NO. 24-5192
                                                                                        RECEIVED
                                                UNITED STATES COURT OF APPEALS
                                                 FOR THE DISTRICT OF COLUMBIA




                EDWARD JACOB LANG, ET AL

                           Plaintiffs / Appellants,

                V.


                SGT DANIEL THAU, METROPOLITAN
                POLICE DEPARTMENT, ET AL

                           Defendants /Appellees.


                                             Appeal from the United States District Court for
                                                        the District of Columbia
                                                     Civil Case No. l:24-cv-00295




                              APPELLANT’S MOTION TO EXTEND TIME TO FILE RESPONSE

                                                      CERTIFICATE OF SERVICE

                 Now comes, Plaintiff / Appellant, EDWARD JACOB LANG, pro se, and for his motion to

             extend the time to file a response to the Motion to Dismiss and pending her admission to practice,

             hereby states the following:

                      1.        Appellant is currently incarcerated and has been during the pendency of his lawsuit

             in the above-captioned matter.

                      2.        A timely notice of appeal was filed in this matter on August 23, 2024.

                      3.        Appellant’s counsel has had to seek admission to the court for electronic filing.
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                     4.        Awaiting this, Appellant filed his entry of appearance and motion to permit pro se

             electronic filing on October 9,2024.

                     5.        In the meantime, on October 7, 2024, Appellees filed a motion for summary

             affirmance.

                     6.        Appellant has had no way to respond to this Motion for Affirmance because he has

             had to find a way to appear pro se and has just filed a pro se appearance and motion to file

             electronically.

                     7.        Appellant has also to file other documents in this case for purposes of complying

             with the appellate rules.

                     8.        Therefore, Appellant is requesting an additional 10 days to file a response to the

             motion for summary affirmance filed by the Appellees.


                                                                            Respectfully submitted by,
                                                                              DocuSIgned by:



                                                                              •66FFE56AEDG2460—■

                                                                             EDWARD JACOB LANG, PRO SE

             Date: October 22, 2024
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                                                            1
                                                  CERTIFICATE OF SERVICE

                     EDWARD JACOB LANG, being first duly sworn, deposes and states that on the 22nd of

             October, 2024, he caused a copy of the within pleadings to be served upon all parties of record by

             electronically filing and serving same upon counsel of reeord for the parties.



                                                                          Respectfully submitted by,

                                                                         y— DocuSign«d by;



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                                                                           EDWARD JACOB LANG, PRO SE
